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UNITED STATES OF AMERICA                             *
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                                                                CRIM. NO. 24-OO112-TFM
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GLENNIE ANTONIO McGEE, ET AL.                        *

                                      NOTICE TO THE COURT

       The United States,by and through Sean P. Costello, the United States Attorney for the

SouthernDistrict of Alabama,respectfullyfiles this noticepursuantto S.D. Ala. CrLR 7 to briefly

describe the differences between the original and the Superseding Indictment.

       This Superseding Indictment contains the following changes:

       1.      Count Eleven of the SupersedingIndictment has been added, which charges a

               firearms-trafficking     conspiracy          (18 U.S.C.   § 933(a)(3))   against   defendant

               Echandza Dianca Maxie, aka “Chan,” and a new defendant, Exavieria Deagnes

               Maxie, aka “DD.”

       2.      Defendant Exavieria Deagnes Maxie, aka “DD,” has been added to the evidence-

              tampering charge (18 U.S.C. § 1512(c)(1)) previously alleged as Count Eleven of

              the original Indictment, which has been renumberedas CountTwelve of the

               Superseding Indictment.

       3.      Count Twelve of the original Indictment has been renumberedas Count Thirteen

               of the SupersedingIndictment and refers to defendantExavieria DeagnesMaxie,

               aka “DD,“ by name,rather than by her initials, “E.D.M.,” as previously alleged in

               the original Indictment.

       4       Count Fourteen of the Superseding Indictment has been added, which charges a
                                                     1
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           violation of 18 U.S.C. § 922(g)(1) (Possession of a Firearm by a Prohibited Person

           (Felon)) against defendant Exavieria DeagnesMaxie, aka “DD.”

     5     The “Sentencing Allegations” section of the SupersedingIndictment adds a

           sentencing allegation against defendant Eric Anthony Aguilar based upon a prior

           qualifying predicate serious drug felony.

     6.    The Forfeiture Notice of the Superseding Indictment has been amended to include

           reference to a 2021 Dodge Challenger Seat Pack and three items of jewelry that

           were seized from defendant Eric Anthony Aguilar.

     7.    The “SEALED” notation in the footer of the original Indictment no longer appears

           in the SupersedingIndictment.

     8.    All referencesto the original Indictment now refer to the SupersedingIndictment.

     9.    All other counts of the SupersedingIndictment remain unchanged from the original

           Indictment, except that they have now been renumbered as noted above.

     10    The forfeiture notice and penalty page of the SupersedingIndictment have been

           edited to conform with the above-referencedchanges.
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     This investigation is ongoing and may result in additional criminal charges.

     Respectfully submitted on September24, 2024.

                                          SEANP. COSTELLO
                                          UNITED STATESATTORNEY



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